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        6                                            UNITED STATES DISTRICT COURT
        7                                        CENTRAL DISTRICT OF CALIFORNIA
        8
              UNITED STATES OF AMERICA,
        9

       10                                                    Plaintiff,        CASE     NO.     ED19CR114-JGB-9
       11                                         v.
                     JESSICA ROMO
       12                                                                      ORDER OF DETENTION
       13

       14                                                    Defendant.
       15

       16                                                                       1.

       17 A. () OnX motion of the Government in a case allegedly involving:

       18 1. () a crime of violence.
       19 2. () an offense with maximum sentence of life imprisonment or death.

                   X
      20 3. () a narcotics or controlled substance offense with maximum sentence

      21                                    of ten or more years .
      22 4. () any felony - where the defendant has been convicted of two or more

      23 prior offenses described above.
      24 5. () any felony that is not otherwise a crime of                                              violence that involves a
      25                                    minor victim, or possession or use of a firearm or destructive device
      26                                    or any other dangerous weapon, or a failure to register under 18
      27                                    V.S.C § 2250.
                X motion by the Government / ( ) on Court's own motion, in a case
      28 B. () On

                                                       ORDER OF DETENTION AFTER HEARING (18 U.S.c. §3142(i))

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    1                           allegedly involving:
    2                X On the further allegation by the Government of:
                    ()

    3                  X a serious risk that the defendant wil flee.
                    1. ()

    4              2. () a serious risk that the defendant wil:

    5                    a. ( ) obstruct or attempt to obstruct justice.

    6                    b. ( ) threaten, injure, or intimidate a prospective witness or juror or

    7                                  attempt to do so.
    8        C. The Government ( )Xis/ ( ) is not entitled to a rebuttable presumption that no
    9              condition or combination of conditions wil reasonably assure the defendant's
   10              appearance as required and the safety of any person or the community.
   11

   12                                                                   II.
   13        A. (X)            The Court finds that no condition or combination of conditions wil
   14                          reasonably          assure:
   15              1. (X)              the appearance of the defendant as required.
   16                    ( )           and/or
   17              2. ( )             the safety of any person or the community.
   18        B. ( )            The Court finds that the defendant has not rebutted by sufficient
   19                          evidence to the contrary the presumption provided by statute.
  20

  21                                                                   III.
  22         The Court has considered:
  23         A. the nature and circumstances of                     the offense(s) charged, including whether        the
  24              offense is a crime of violence, a Federal crime of terrorism, or involves a minor
  25              victim or a controlled substance, firearm, explosive, or destructive device;
  26        B. the weight of evidence against the defendant;
  27         C. the history and characteristics of the defendant; and
  28        D. the nature and seriousness of                     the danger to any person or to the community.
                                               ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

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    1 iv.
    2 The Court also has considered all the evidence adduced at the hearing and the
    3 arguments and/or statements of counsel, and the Pretrial Services

    4 Report/recommendation.


    6 V.
    5




    7 The Court bases the foregoing finding( s) on the following:
            X to flight risk:
    8 A. () As

    9                   Failure to appear in instant case/absconding from supervision
   10                   Substance abuse
   11                    Failure to comply with conditions of release
   12

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   16 B. () As to danger:
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  22



  24 V1.
  23



  25 A. () The Court finds that a serious risk exists that the defendant wil:
  26 1. ( ) obstruct or attempt to obstruct justice.
  27 2. ( ) attempt to/ ( ) threaten, injure or intimidate a witness or juror.
  28

                               ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

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     1 B. The Court bases the foregoing finding(s) on the following:

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    9                                                                    VII.
   10

   11 A. IT is THEREFORE ORDERED that the defendant be detained prior to triaL.
                                 ---- ._--- - ------ - ----
   12 B. IT is FURTHER ORDERED that the defendant be committed to the
   13 custody of the Attorney General for confinement in a corrections facilty
   14 separate, to the extent practicable, from persons awaiting or serving
   15 sentences or being held in custody pending appeaL.
   16 C. IT is FURTHER ORDERED that the defendant be afforded reasonable
   17 opportunity for private consultation with counseL.
   18 D. IT is FURTHER ORDERED that, on order of a Court of                                               the United States
   19 or on request of any attorney for the Government, the person in charge of
   20 the corrections facilty in which the defendant is confined deliver the
   21 defendant to a United States marshal for the purpose of an appearance in
   22 connection with a court proceeding.
  23

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  25
  6/ DATED:
  26                             1/11/21
                                                                        KENL Y KIYA KA TO
  27                                                                    UNITED STATES MAGISTRATE JUDGE
  28

                                                  ORDER OF DETENTION AFTER HEARING (18 U.S.c. §3142(i))

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